






Opinion issued May 10, 2007









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00845-CV

____________


CITY OF HOUSTON, TEXAS, Appellant


V.


R. HASSELL BUILDERS, INC., Appellee






On Appeal from the 157th District Court

Harris County, Texas

Trial Court Cause No. 2005-76361






MEMORANDUM OPINION

	Appellant, City of Houston, Texas, has filed an unopposed motion to dismiss
its appeal.  No opinion has issued.  Accordingly, the motion is granted, and the appeal
is dismissed.  Tex. R. App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Bland.


